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IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND * MDL DOCKET NO. 2047
TRACEY PERREY *
*x
PLAINTIFFS *
* Judge Eldon E. Fallon
*
Vv. * Magistrate Judge Joseph C. Wilkerson, Jr.
KNAUF GIPS KG; *
KNAUF PLASTERBOARD * Section L
TIANJIN COMPANY, LTD *
SUN CONSTRUCTION, LLC *
SUNRISE CONSTRUCTION, LLC *
FICTITIOUS DEFENDANTS A-Z *
DEFENDANTS *
Case No. 2:09cv5500 L/2
ORDER

Considering the foregoing Exparte Motion for Leave to file Motion for Summary
Judgment:

IT IS HEREBY ORDERED that the Stay imposed by Pre-Trial Order No. | be and is
hereby lifted to allow Sun Construction, LLC to file it’s Motion for Summary Judgment.

NEW ORLEANS, LOUISIANA, this day of 2009

DISTRICT JUDGE
